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                               and Morgan Simon
                            10

                            11                           IN THE UNITED STATES DISTRICT COURT
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                            12                       FOR THE NORTHERN DISTRICT OF CALIFORNIA

                            13                                  SAN FRANCISCO DIVISION

                            14 CORECIVIC, INC.,                                 Case No. 4:20-cv-03792-WHA
                            15                     Plaintiff,                   Assigned to the Hon. William Alsup
                            16 v.                                               NOTICE OF MOTION AND SPECIAL
                                                                                MOTION TO STRIKE PLAINTIFF’S
                            17 CANDIDE GROUP, LLC and MORGAN                    COMPLAINT
                               SIMON,                                           [Cal. Code Civ. Proc. § 425.16]
                            18
                                                                                [Supporting Declaration and Exhibits Thereto,
                                            Defendants.
                            19                                                  and Request for Judicial Notice Filed
                                                                                Concurrently]
                            20                                                  Judge:     Hon. William Alsup
                                                                                Date:      October 22, 2020
                            21                                                  Time:      8:00 a.m.
                                                                                Location: San Francisco Courthouse
                            22                                                             Courtroom 7 – 19th Floor
                                                                                           450 Golden Gate Avenue
                            23                                                             San Francisco, CA 94102
                            24                                                  Action Filed:        March 4, 2020
                                                                                Action Transferred: June 7, 2020
                            25

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                                 DEFENDANTS’ SPECIAL MOTION TO STRIKE
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                             1   TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
                             2          1.      PLEASE TAKE NOTICE that on October 22, 2020, in Courtroom 12 of the United
                             3   States District Court for the Northern District of California, located on the 19th Floor in the San
                             4   Francisco Courthouse, 450 Golden Gate Avenue, San Francisco, CA 94102, defendants Candide
                             5   Group, LLC (“Candide”) and Morgan Simon (“Simon”) (together, “Simon” or “Defendants”) will
                             6   and do move this Court, pursuant to California Code of Civil Procedure (“C.C.P.”) § 425.16 (the
                             7   “anti-SLAPP statute”), for an order striking the Complaint filed by Plaintiff CoreCivic, Inc.
                             8   (“CoreCivic”), for the following reasons:
                             9          1.      The Anti-SLAPP statute applies to all of CoreCivic’s claims because they arise
                            10   from Simon’s free speech made in a public forum about public issues. Memorandum (“Mem.”)
                            11   § II. The burden is thus on CoreCivic to establish a probability that it will prevail (C.C.P.
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                            12   § 425.16(b)(1)), and it cannot, for the following reasons:
                            13          2.      CoreCivic has not alleged and cannot allege Simon’s post of September 25, 2018
                            14   was published or republished within the one-year limitations period. Mem. § III.A.
                            15          3.      CoreCivic has not alleged and cannot allege that statements at issue concerning
                            16   family separation are materially false, and even “implication” alleged by CoreCivic would amount
                            17   to a non-actionable expression of opinion. Mem. § III.B.
                            18          4.      CoreCivic has not alleged and cannot allege that statements at issue concerning
                            19   lobbying are actionable; they are protected opinion, and are not defamatory. Mem. § III.C.
                            20          5.      CoreCivic has not alleged and cannot allege that Simon published the statements at
                            21   issue with actual malice. Mem. § III.D.
                            22          If the Court decides that CoreCivic can meet its burden with respect to any of its claims or
                            23   specific statement at issue, Simon requests that the Court grant her motion to strike as to the
                            24   remaining claims and/or statements alleged. See Baral v. Schnitt, 1 Cal. 5th 376, 393 (2016).
                            25          This motion is based on this notice; the attached memorandum; the concurrently filed
                            26   request for judicial notice and declaration of Thomas R. Burke (“Burke Dec.”) with Exhibits 1-12;
                            27   any other matters of which this Court may take judicial notice; all pleadings, files, and records in
                            28   this action; and such other argument as this Court may receive at the hearing on this motion.

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                             1   DATED: August 6, 2020                      DAVIS WRIGHT TREMAINE LLP
                                                                            THOMAS R. BURKE
                             2                                              ABIGAIL B. EVERDELL
                             3                                              By: /s/ Thomas R. Burke
                                                                                Thomas R. Burke
                             4
                                                                            Attorneys for Defendants Candide Group, LLC
                             5                                              and Morgan Simon
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                             1                                            INTRODUCTION
                             2            CoreCivic, Inc.—one of the largest private prison and detention center operators in the
                             3   United States—seeks to silence and punish one of its most effective critics by contriving a
                             4   defamation suit where no claims can lie. Defendant Morgan Simon, founding partner of
                             5   Defendant Candide Group LLC, is a life-long activist for social justice who authors and publishes
                             6   opinion pieces on Forbes.com’s contributor platform. In a series of three posts describing
                             7   successful efforts by a coalition of activists (including Simon) to encourage banks to stop lending
                             8   to private prisons, Simon noted how the separation of immigrant families at the border has drawn
                             9   increased attention to the outsized role played by private prisons—including CoreCivic—in
                            10   detaining immigrants for profit. Citing to and relying on specific published reports disclosing
                            11   CoreCivic’s involvement in the development of model legislation criminalizing undocumented
                            12   immigrants, as well as its donations to lawmakers who sponsored that legislation, Simon also
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                            13   criticized CoreCivic’s “lobbying” for harsher criminal and immigration laws. CoreCivic does not
                            14   and cannot deny that it operates immigration detention facilities where migrants are housed (some
                            15   after being separated from family members). Nor does the Complaint deny that CoreCivic has
                            16   spent millions in lobbying to secure government appropriations to operate these detention facilities
                            17   and prisons. The Complaint also does not deny that CoreCivic was present at a meeting where
                            18   criminal immigration legislation was developed, or that it donated to state lawmakers who
                            19   supported that legislation. Indeed, CoreCivic could hardly contest that harsh criminal and
                            20   sentencing laws have financially benefitted its business. Yet CoreCivic insists a false and
                            21   defamatory meaning should be read into Simon’s posts, and attempts to construct such meaning by
                            22   imposing unsupportable “implications” upon some statements, and subjecting others to hyper-
                            23   literal constructions. These contrived claims do not make it past the starting line.
                            24            California’s anti-SLAPP statute was designed to dismiss lawsuits just like this one.
                            25   Because the lawsuit targets the exercise of free speech in a public forum and involving matters of
                            26   indisputable public interest/public concern, CoreCivic must show a probability of prevailing on
                            27   the merits of its claims. It cannot do so.
                            28            First, CoreCivic has not alleged and will be unable to prove that statements in Defendants’

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                             1   first Forbes post, of September 25, 2018, were published or republished within the one-year
                             2   limitations period. Mem. § III.A. Second, CoreCivic has not alleged that any of Simon’s
                             3   statements concerning family separation were materially false, an essential component of any
                             4   defamation claim. Moreover, even accepting the unreasonable reading of these statements alleged
                             5   by CoreCivic, that would still amount to an expression of Simon’s opinion, which is not actionable
                             6   as a matter of law. Mem. § III.B. Third, CoreCivic has not alleged that Simon’s statements about
                             7   legal lobbying are actionable. The context and specific language of the statements makes clear
                             8   that Simon is offering her partisan opinion based on disclosed third party reports, and no reader
                             9   would subject these statements to the hyper-literal reading CoreCivic presses. Moreover, because
                            10   it has not pled that it has incurred special damages, CoreCivic must show these statements are
                            11   defamatory on their face, Cal. Civ. Code §§ 45, 45a. It borders on ridiculous for a publicly traded
                            12   company whose business model is built upon the incarceration of people for the lowest possible
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                            13   cost—a company whose bottom line is inexorably tied to the number of people under its control at
                            14   any given time—to claim that a characterization of their legal lobbying activities could somehow
                            15   damage its reputation. In light of CoreCivic’s known and admitted activities, it is simply
                            16   innocuous, and not actionable as a matter of law, to claim that CoreCivic lobbies in favor of more
                            17   stringent criminal and immigration laws. Mem. § III.C. Finally, CoreCivic—a public figure by
                            18   virtue of its prominence in the private prison sector—has not plausibly alleged that Simon
                            19   published the statements at issue with actual malice, i.e., knowing the statements were false or
                            20   with reckless regard as to whether they were false. Indeed, the Complaint itself alleges that Simon
                            21   relied on reputable third party sources for her statements concerning lobbying—sources CoreCivic
                            22   even alleges Simon should have relied on—precluding a finding of actual malice as a matter of
                            23   law. See Compl. ¶¶ 81-82; Mem. § III.D.
                            24          For these reasons, Simon respectfully asks that the Court dismiss this lawsuit with
                            25   prejudice and award attorneys’ fees, in a motion that will be separately briefed.
                            26                                     FACTUAL BACKGROUND
                            27          A.      The Parties
                            28          CoreCivic, formerly known as Corrections Corporation of America (or CCA), is one of the

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                             1   nation’s largest operators of private prisons. Compl. ¶¶ 7, 47, 81. CoreCivic also operates
                             2   detention centers that incarcerate immigrants detained by Immigrations and Customs
                             3   Enforcement. Ex. 11 at 10.1 CoreCivic describes itself as a “government-solutions company” that
                             4   “solve[s] tough government challenges in cost-effective ways.” Ex. 11 at 1. In other words,
                             5   incarcerating people—in prisons, detention facilities, and “reentry facilities,” id.—traditionally the
                             6   sole prerogative of government, is CoreCivic’s profit-driven business.
                             7            Simon is a lifelong activist for social justice issues. See Ex. 9. Through her company,
                             8   Candide, Simon advises clients on socially responsible means of investment and financial
                             9   management. See Compl. ¶¶ 14-18; Ex. 10. Simon is the author of Real Impact: The Economics
                            10   of Social Change (Bold Type Books, 2017). Compl. ¶ 23 & n.7. Simon also organizes social
                            11   justice campaigns, see Compl. ¶¶ 14, 108, and has been a key organizer of a grassroots movement
                            12   against the private prison industry. See id. ¶ 49. Simon helped spearhead a resoundingly
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                            13   successful public outreach campaign to convince banks and other lenders to stop lending to private
                            14   prison companies, including CoreCivic. Id. ¶¶ 57; 104-116; Exs. 1-5.
                            15            Simon is a senior contributor to Forbes.com’s contributor platform, where she writes about
                            16   investing and “building bridges between finance and social justice.” See Ex. 1 at 6; Compl. ¶ 24.
                            17   While she is the sole listed author of her posts at Forbes.com, Simon discloses her association with
                            18   Candide. See, e.g., Ex. 1 at 6.
                            19            B.      Simon’s Forbes Posts
                            20            The Complaint takes issue with a series of posts published by Simon on the Forbes
                            21   contributor platform (collectively, the “Forbes Posts”). These posts are summarized as follows:
                            22            On September 25, 2018, Simon published a post at Forbes.com entitled “What Do Big
                            23   Banks Have To Do With Family Detention? #FamiliesBelongTogether Explains” (the “Sept. 25,
                            24   2018 Post”). See Ex. 1. The Sept. 25, 2018 Post consists largely of an interview with two
                            25   members of the Families Belong Together coalition, a group of (then) 85 organizations working
                            26   “to urge Wells Fargo and JP Morgan Chase to stop financing GEO Group and CoreCivic.” Ex. 1
                            27   at 2. In the interview, the coalition members describe how “Families Belong Together emerged in
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                                     Numbered exhibits refer to exhibits to the Declaration of Thomas R. Burke, filed herewith.
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                             1   response to the family detention crisis, starting with the recent separation of families at the border
                             2   which drew national attention to what has been a long-standing issue.” Id. at 3. They describe
                             3   how the coalition has since expanded its work to focus on private prisons more generally, with a
                             4   focus on the few largest “for-profit prison corporations that hold contracts to operate [immigrant]
                             5   detention centers, and are profiting off the pain and separation of families,” including CoreCivic.
                             6   Id. The interviewees say that “[o]ur immigration system should not be run like a for-profit
                             7   incarceration business,” and describe their campaign to get major banks to “stop financing”
                             8   CoreCivic and others. Id. at 5.
                             9          On March 5, 2019, Simon published a follow up post at Forbes.com titled “JPMorgan
                            10   Chase Is Done With Private Prisons” (the “March 5 Post”). See Ex. 2. Stating that “JPMorgan
                            11   Chase announced early this morning that they will stop financing . . . CoreCivic,” and including a
                            12   hyperlink to the Sept. 25, 2018 Post, id. at 2, the post describes how, “[s]ince news of family
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                            13   separation at the southern border began shedding more light on the abuses inside such private
                            14   facilities, activists across the country have been paying careful attention to who actually enables
                            15   private prison companies in their day to day operations.” Id. at 2. Per Simon, because “a third of
                            16   all immigrant detention centers are privately owned,” the events at the border spurred a broader
                            17   movement to pressure banks and investors to stop doing business with private prison and
                            18   immigrant detention companies. Id. at 2. The post also calls out CoreCivic specifically, saying
                            19   that it and its largest competitor “have a long history of profiting from mass incarceration: they
                            20   make money when beds are filled, justly or unjustly, which is why they’ve spent $25M on
                            21   lobbying over the past three decades to push for harsher criminal justice and immigration laws.”
                            22   Id. at 2. Within this passage, hyperlinks directed readers to supporting articles published by NPR
                            23   and Business Insider, upon which Simon relied. Compl. ¶¶ 81-82. The NPR Article reports on the
                            24   private prison industry’s role in the development of an Arizona law requiring the incarceration of
                            25   anyone who cannot prove their legal immigration status. Ex. 6 at 3. It reports that CoreCivic sent
                            26   representatives to a meeting of the American Legislative Exchange Council (“ALEC”), where the
                            27   bill was first presented, that it donated to state legislators who co-sponsored the bill, and that it
                            28   sent a lobbyist to work the state capitol the same week the bill was introduced. Id. at 6-9. The

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                             1   Business Insider Article similarly reports on “efforts” by CoreCivic and other private prison
                             2   companies “on Capitol Hill and in statehouses across the country to lobby for laws that expand
                             3   demand for their own services.” Ex. 7 at 2. See also Burke Decl. ¶¶ 7-8.
                             4          On September 30, 2019, Simon published another post at Forbes.com, titled “GEO Group
                             5   Runs Out of Banks as 100% of Banking Partners Say ‘No’ to the Private Prison Sector” (the
                             6   “September 30 Post”). See Ex. 3. Simon writes that, “in the wake of demands by grassroots
                             7   activists — many under the banner of the #FamiliesBelongTogether coalition,” nearly all banking
                             8   partners to major prison companies “have now officially committed to ending ties with the private
                             9   prison and immigrant detention industry.” Id. at 1. The post describes the financial consequences
                            10   of these successful campaigns, and also provides “a brief historical recap” of “the American
                            11   private prison industry.” Id. at 2. Again linking to the NPR Article and Business Insider Article,
                            12   it notes that “[g]iven their business model depends on keeping a consistent and increasing number
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                            13   of people incarcerated, it’s been speculated and critiqued that this is why GEO Group and
                            14   CoreCivic have spent $25M on lobbying over the past three decades to push for harsher criminal
                            15   justice and immigration laws.” Id. at 3.
                            16          C.      CoreCivic Takes Issue With the Forbes Posts
                            17          On October 2, 2019, attorneys for CoreCivic sent Simon a letter taking issue with the
                            18   March 5 Post and September 30 Post. See Compl. Ex. E. The letter insisted that “CoreCivic does
                            19   not lobby for any policies or legislation that would determine the basis for or duration of any
                            20   individual’s incarceration or detention.” Id. at 1. The letter also noted that this denial was quoted
                            21   in the NPR and Business Insider reports, as well as in CoreCivic’s federal lobbying disclosures,
                            22   which are available through several online databases. Id. at 1-4. Next, the letter insisted that
                            23   “CoreCivic does not and has never housed children separated from their parents pursuant to the
                            24   Trump family separation policy,” claiming Simon’s references to the Families Belong Together
                            25   coalition and use of a #FamiliesBelongTogether hashtag implied otherwise. Id. at 4.
                            26          On October 10, Simon updated the two posts in response to CoreCivic’s letter. In the
                            27   March 5 Post, Simon added a clarification at the bottom stating that “[t]his article does not intend
                            28   to suggest that CoreCivic . . . housed children separated from their parents pursuant to the Trump

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                             1   family separation policy,” and explaining that Simon personally “view[s] the phenomena of family
                             2   separation as . . . inclusive of separating a grown adult from their aging parent, or spouse from
                             3   spouse, or a parent being incarcerated while their child remains free, etc.” Ex. 4 at 5. In both the
                             4   March 5 and September 30 Posts, Simon updated the language concerning lobbying to include
                             5   CoreCivic’s denial that it lobbies on criminal or immigration law, as well as additional
                             6   information concerning CoreCivic’s lobbying on bills relating to ICE funding and its membership
                             7   in ALEC. See Ex. 4 (“Updated March 5 Post”) at 2; Ex. 5 (“Updated September 30 Post”) at 3.
                             8   Within this text, Simon hyperlinked to several more sources, including the report by the Justice
                             9   Policy Institute (the “JPI Report”)—the same report cited in the Business Insider Article. See Ex.
                            10   7 at 2. The JPI Report describes how, “[t]hrough campaign contributions, lobbying and building
                            11   relationships and associations, private prison companies,” including CoreCivic specifically,
                            12   “engage in an aggressive political strategy to influence criminal justice policies,” including by
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                            13   “fighting policies that might reduce the use of incarceration.” Ex. 8 at 15-16.
                            14          On October 29, 2019, CoreCivic wrote Simon another letter claiming Simon had not
                            15   sufficiently retracted the statements at issue. See Compl. Ex. F. Simon did not edit the Forbes
                            16   Posts any further. Compl. ¶ 68.
                            17          D.      The Complaint
                            18          On March 4, 2020, CoreCivic filed this action in the U.S. District Court for the Central
                            19   District of California. The case was thereafter transferred by consent to the Northern District of
                            20   California. See Dkt. 23. In the Complaint, CoreCivic alleges that Simon, and by extension her
                            21   firm Candide, defamed it in the Forbes Posts, and in the tweet promoting one of the posts. The
                            22   Complaint focuses on statements concerning (1) the separation and detention of immigrant
                            23   families (the “Family Separation Statements”); and (2) Plaintiff’s lobbying activities (the
                            24   “Lobbying Statements”). The Complaint asserts claims for defamation and for defamation by
                            25   implication based on the same sets of statements. See Compl. ¶¶ 120, 135.
                            26                  1.      The Family Separation Statements
                            27          CoreCivic contends that in the Family Separation Statements, Simon linked it to the
                            28   detention of migrant children at the southern U.S. border by, among other things, describing

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                             1   events at the border, noting that CoreCivic operates “detention centers,” and referring to the
                             2   Families Belong Together coalition. See Compl. ¶¶ 47-57. The Complaint admits that CoreCivic
                             3   does operate immigrant detention centers, Compl. ¶ 7; Ex. 11 at 10, but maintains that it has
                             4   never “operated any immigration detention facilities for children separated from their parents
                             5   pursuant to the government’s family separation policy.” Compl. ¶ 42. The Complaint does not
                             6   deny that CoreCivic detains immigrant families, as well as immigrant adults who have been
                             7   separated from their family members at the border. Id.
                             8          The Complaint focuses in particular on one passage from the Sept. 25, 2018 Post, which
                             9   reads: “The two largest private prison companies,” including CoreCivic, “have over $2BN a year
                            10   in ICE contracts, managing some of the detention centers that have been at the heart of the
                            11   controversy over the separation of families and incarceration of individuals for crossing the US
                            12   border.” See Ex. 1 at 2; Compl. ¶¶ 48, 66. It also cites each instance of Simon using the terms
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                            13   “Family Separation” or “Families Belong Together” in the Forbes Posts. See Compl. ¶ 120. The
                            14   additional challenged statements are:
                            15             “Families Belong Together emerged in response to the family detention crisis, starting
                                            with the recent separation of families at the border which drew national attention to
                            16              what has been a long- standing issue.” (Sept. 25, 2018 Post)
                            17             “CoreCivic and GEO Group, two large for-profit prison corporations that hold
                                            contracts to operate detention centers, and are profiting off the pain and separation of
                            18              families.” (Sept. 25, 2018 Post)
                            19             Referring to CoreCivic as one of “the largest operators of private prisons and
                                            immigrant detention centers in the U.S.” (March 5 Post)
                            20
                                           “Since news of family separation at the southern border began shedding more light on
                            21              the abuses inside such private facilities, activists across the country have been paying
                                            careful attention to who actually enables private prison companies in their day to day
                            22              operations.” (March 5 Post)
                            23   Compl. ¶¶ 120, 135.
                            24          In an attempt to avoid the one-year statute of limitations, the Complaint alleges that the
                            25   Sept. 25, 2018 Post was republished when Simon hyperlinked to it in the March 5 Post, and again
                            26   when Simon updated the March 5 Post on October 10, 2019. Compl. ¶ 120(b). The Complaint
                            27   also contends the March 5 Post was republished via a March 6, 2019 tweet by Simon, in which she
                            28   linked to the March 5 Post. Id. ¶ 120(c).

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                             1                  2.      The Lobbying Statements
                             2          CoreCivic contends that in the Lobbying Statements, Simon accused it of lobbying to pass
                             3   harsher criminal sentencing and immigration laws. CoreCivic maintains that it “has never lobbied
                             4   for harsher sentences or immigration laws.” Compl. ¶ 75. The Complaint identifies Simon’s
                             5   statement in the March 5 post that “GEO Group and CoreCivic . . . make money when beds are
                             6   filled, justly or unjustly, which is why they’ve spent $25M on lobbying over the past three decades
                             7   to push for harsher criminal justice and immigration laws,” Ex. 2 at 2, as well as her statement in
                             8   the September 30 Post that: “Given their business model depends on keeping a consistent and
                             9   increasing number of people incarcerated, it’s been speculated and critiqued that this is why GEO
                            10   Group and CoreCivic have spent $25M lobbying over the past three decades to push for harsher
                            11   criminal justice and immigration laws.” Ex. 3 at 2. The Complaint also takes issue with Simon’s
                            12   clarification edits in both posts. Ex. 4 at 2; Ex. 5 at 3. See also Compl. ¶¶ 120, 135.
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                            13                                               ARGUMENT
                            14                    I.      STANDARD ON A SPECIAL MOTION TO STRIKE
                            15          California enacted its “broad” anti-SLAPP law to quickly dispose of meritless claims that
                            16   target free speech. Braun v. Chronicle Publ’g Co., 52 Cal. App. 4th 1036, 1042 (1997); see also
                            17   DC Comics v. Pac. Pictures Corp., 706 F.3d 1009, 1015-16 (9th Cir. 2013) (“[i]t would be
                            18   difficult to find a value of a ‘high[er] order’ than the constitutionally-protected rights to free
                            19   speech and petition that are at the heart of California’s anti-SLAPP statute”). Under C.C.P.
                            20   § 425.16(b)(1), any “cause of action against a person arising from any act … in furtherance of the
                            21   person’s right of … free speech … in connection with a public issue shall be subject to a special
                            22   motion to strike, unless the court determines that the plaintiff has established that there is a
                            23   probability that the plaintiff will prevail on the claim.” To evoke the anti-SLAPP statute, the
                            24   moving party first must show the plaintiff’s claims arise from protected conduct under the
                            25   statute. Sarver v. Chartier, 813 F.3d 891, 901 (9th Cir. 2016) (citation omitted). Once the
                            26   defendant makes such a showing, a court must look to the merits of the plaintiff’s claims. Id.
                            27          When, as here, “an anti-SLAPP motion to strike challenges only the legal sufficiency of a
                            28   claim, a district court should apply the Federal Rule of Civil Procedure 12(b)(6) standard and

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                             1   consider whether a claim is properly stated.” Planned Parenthood Fed’n of Am., Inc. v. Ctr. for
                             2   Med. Progress, 890 F.3d 828, 834, amended by 897 F.3d 1224 (9th Cir. 2018). Accordingly, to
                             3   survive an anti-SLAPP motion challenging the complaint’s legal sufficiency, a plaintiff must
                             4   allege sufficient facts to raise a right to relief above the speculative level—that is, the claim to
                             5   relief must be plausible on its face. Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555-56 (2007);
                             6   Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). “A claim has facial plausibility when its factual
                             7   content allows the court to draw the reasonable inference that the defendant is liable for the
                             8   misconduct alleged.” Kelsey K. v. NFL Enterprises, LLC, 254 F. Supp. 3d 1140, 1143 (N.D. Cal.
                             9   2017), aff’d, 757 F. App’x 524 (9th Cir. 2018) (Alsup, J.). Although a court must take “well-
                            10   pleaded factual allegations” as true for purposes of a Rule 12(b)(6) motion, legal conclusions “are
                            11   not entitled to the assumption of truth.” Iqbal, 556 U.S. at 679.
                            12          Early dismissal at the pleading stage is especially appropriate in cases like this one, which
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                            13   targets constitutionally protected speech. Winter v. DC Comics, 30 Cal. 4th 881, 892 (2003)
                            14   (“because unnecessarily protracted litigation would have a chilling effect upon the exercise of
                            15   First Amendment rights, speedy resolution of cases involving free speech is desirable.”) (citation
                            16   omitted); Flowers v. Carville, 310 F.3d 1118, 1131 (9th Cir. 2002).
                            17          II.     THE ANTI-SLAPP STATUTE APPLIES TO CORECIVIC’S CLAIMS.
                            18          Simon easily meets her burden to show the anti-SLAPP statute applies. The Complaint’s
                            19   two defamation claims both arise from Simon’s free speech made in a “public forum”—
                            20   Forbes.com’s website—concerning an “issue of public interest”—private corporations’ reach into
                            21   taxpayer-funded, traditionally governmental realms of incarceration and immigrant detention, and
                            22   the human rights abuses that invariably result. See C.C.P. § 425.16(e)(3), (e)(4); Barrett v.
                            23   Rosenthal, 40 Cal. 4th 33, 41 n.4 (2006) (“Web sites accessible to the public . . . are ‘public
                            24   forums’ for purposes of the anti-SLAPP statute.”) (citations omitted); FilmOn.com Inc. v.
                            25   DoubleVerify Inc., 7 Cal. 5th 133, 151 (2019) (the anti-SLAPP statute applies where, e.g., the
                            26   defendant “participated in, or furthered, the discourse that makes an issue one of public interest”).
                            27   CoreCivic challenges multiple statements in its two defamation claims. The Court must strike any
                            28   challenged statements that are not actionable as a matter of law. Wallace v. McCubbin, 196 Cal.

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                             1   App. 4th 1169, 1209 (2011) (“in response to an anti-SLAPP motion . . . a part of a cause of action
                             2   could be struck because the plaintiff failed to establish a probability of prevailing as to that
                             3   particular part”) (citing Taus v. Loftus, 40 Cal. 4th 683, 742-43 (2007)); C.C.P. § 425.16(b)(1).
                             4                  III.    CORECIVIC’S CLAIMS FAIL AS A MATTER OF LAW
                             5          A.      The Sept. 25, 2018 Post Is Outside the Statute of Limitations, and Was Not
                                                Republished
                             6
                                        The Sept. 25, 2018 Post was published more than a year before the Complaint was filed on
                             7
                                 March 4, 2020, exceeding California’s one-year statute of limitations on libel claims. See Cal.
                             8
                                 Code Civ. Proc. § 340(c). The Complaint attempts to skirt the limitations period by alleging that
                             9
                                 the Sept. 25, 2018 Post was republished when it was hyperlinked in the March 5 Post, and again
                            10
                                 when the March 5 Post was updated. However, California follows the “single publication rule,”
                            11
                                 pursuant to which the Sept. 25, 2018 Post is deemed published on the date it was first posted.
                            12
                                 Hebrew Acad. of San Francisco v. Goldman, 42 Cal. 4th 883, 892 (2007) (citation omitted); Oja v.
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                            13
                                 U.S. Army Corps of Eng’rs, 440 F.3d 1122, 1133 (9th Cir. 2006) (“application of the single
                            14
                                 publication rule to the vast majority of Internet publications”). Nearly every court to address the
                            15
                                 issue has held that a website is not republished merely because it is citied or hyperlinked on
                            16
                                 another site. See, e.g., Sundance Image Tech., Inc. v. Cone Editions Press, Ltd., No. 02 CV 2258
                            17
                                 JM (AJB), 2007 WL 935703, at *7 (S.D. Cal. Mar. 7, 2007) (“providing links to statements
                            18
                                 already published on the Web, without more . . . does not trigger the republication rule”); U.S. ex
                            19
                                 rel. Klein v. Omeros Corp., 897 F. Supp. 2d 1058, 1074 (W.D. Wash. 2012) (“a mere reference or
                            20
                                 URL is not a publication of the contents of the materials referred to”); Clark v. Viacom Int’l Inc.,
                            21
                                 617 F. App'x 495, 506 (6th Cir. 2015). Thus, the challenged statements in the Sept. 25, 2018 Post
                            22
                                 were not republished by virtue of a mere hyperlink in the March 5 Post. Nor, pursuant to the same
                            23
                                 principles, was the Sept. 25, 2018 Post republished via Simon’s tweet linking to the March 5 Post.
                            24
                                 See Compl. ¶ 120(c). This authority applies equally to CoreCivic’s claim that Simon’s tweet of
                            25
                                 March 6, 2019 republished the March 5 Post by hyperlinking to it. CoreCivic’s claims based on
                            26
                                 these publications are time barred, and must be stricken.
                            27
                                        B.      The Family Separation Statements Are Not Actionable
                            28
                                        CoreCivic’s defamation claims regarding the Family Separation Statements lack the most
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                             1   basic component of such a claim: a materially false statement of fact. The Family Separation
                             2   Statements are not materially false, and do not convey the allegedly false meaning CoreCivic
                             3   insists. Moreover, even imagining that Simon’s statements regarding the private prison industry’s
                             4   role in immigrant detention somehow, impliedly, indicted the industry as a whole for events that
                             5   took place at a few border facilities, that would be a non-actionable expression of Simon’s
                             6   opinion, not a defamatory implication.
                             7                   1.      The Family Separation Statements Are Not Materially False
                             8           First, CoreCivic cannot allege the Family Separation Statements are materially false. In
                             9   libel law, “it is not the literal truth or falsity of each word or detail used in a statement which
                            10   determines whether or not it is defamatory.” Issa v. Applegate, 31 Cal. App. 5th 689, 702 (2019).
                            11   “Minor inaccuracies do not amount to falsity so long as ‘the substance, the gist, the sting, of the
                            12   libelous charge be justified.’” Vogel v. Felice, 127 Cal. App. 4th 1006, 1021 (2005) (quoting
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                            13   Masson v. New Yorker Magazine, 501 U.S. 496, 516-17 (1991)). The Complaint asserts
                            14   repeatedly that CoreCivic has never “operated any immigration detention facilities for children
                            15   separated from their parents pursuant to the government’s family separation policy.” See, e.g.,
                            16   Compl. ¶ 42. But Simon never said otherwise. Rather, the Family Separation Statements more
                            17   generally link CoreCivic to a broader movement against private prison operators, as well as to an
                            18   overall criticism of incarcerating immigrants and separating families. Critically, CoreCivic is a
                            19   private prison company, and does incarcerate immigrants. See Compl. ¶ 7; Ex. 11 at 10. See also
                            20   Ex. 12 at 16 (disclosing that CoreCivic operates facilities for “individuals being detained by ICE”
                            21   and “adults with children who have been detained by ICE”).
                            22           CoreCivic nevertheless insists that it was “false[]” to “connect[]” CoreCivic “to the
                            23   immigrant detention facilities for separated children that were the focus of the Families Belong
                            24   Together movement and the resistance to the Trump Administration’s family separation policy”
                            25   by referring to the Trump family separation policy and Families Belong Together. Compl. ¶ 47.
                            26   First, in making these claims, the Complaint focuses solely on the housing of minors separated
                            27   from adults, and says nothing about whether CoreCivic houses the adults who have been separated
                            28   from their minor family members—an essential component of “family separation.” This omission

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                             1   speaks volumes. CoreCivic cannot claim it does not “separate families” by reference to only one
                             2   half of the equation. By failing to deny it detains immigrant adults separated from their families,
                             3   CoreCivic fails to plead that Simon’s use of the term “family separation” was materially false.
                             4          Moreover, the alleged “implication” CoreCivic advances—namely that it was specifically
                             5   responsible for the “children in cages” at the border, Compl. ¶¶ 35, 47—requires an untenable leap
                             6   beyond the content of Simon’s statements themselves. This runs contrary to the California
                             7   Supreme Court’s admonition that courts “must refrain from scrutinizing what is not said to find ‘a
                             8   defamatory meaning which the article does not convey to a lay reader.’” Forsher v. Bugliosi, 26
                             9   Cal. 3d 792, 803 (1980) (citation omitted). Forsher concerned a book by Vincent Bugliosi, a
                            10   former deputy district attorney, concerning the Manson Family murder case, which he tried. The
                            11   book reported that the plaintiff was seen with a lawyer before the lawyer’s murder, and noted the
                            12   failure of police to investigate the circumstances. Id. In that case, as in this one, the plaintiff
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                            13   alleged that, though there was “no single statement in the book which, standing alone, could be
                            14   said to libel” him, the “context” and “cumulative impact” of the book implied he was associated
                            15   with the Manson Family and had been involved in the murder. Id. at 803-04. The court rejected
                            16   the plaintiff’s contention, holding that “the fact that some person might, with extra sensitive
                            17   perception, understand such a meaning cannot compel this court to establish liability at so low a
                            18   threshold. Rather, the test … is whether by reasonable implication a defamatory meaning may be
                            19   found in the communication.” Id. at 805-06.
                            20          Here, as in Forsher, the actual statements at issue do not support the alleged defamatory
                            21   implication CoreCivic alleges. Simon’s references to Families Belong Together in the Forbes
                            22   Posts do not “convey to a lay reader” that CoreCivic houses minors separated from their families.
                            23   Rather, the Forbes Posts truthfully describe how the Families Belong Together coalition was
                            24   “galvanized” by the Trump family separation policy, see Compl. ¶¶ 36, 43; Ex. 1 at 3 (“Families
                            25   Belong Together emerged in response to the family detention crisis”), and has since expanded its
                            26   mandate “to form a corporate accountability committee targeting big banks” that finance the
                            27   largest private prison companies. Ex. 2 at 2. The Forbes Posts also explains why events at private
                            28   detention facilities at the border spurred scrutiny of the entire private prison industry: Because

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                             1   “while only 10% of prisons and jails nationwide are for-profit, a third of all immigrant detention
                             2   centers are privately owned… receiving over $1B a year in contracts from ICE.” Id. None of
                             3   these statements are alleged to be false, and truthfully describing the evolution of an advocacy
                             4   movement hardly amounts to a “reasonable implication” of “defamatory meaning.”
                             5                  2.      The Family Separation Statements Are Non-Actionable Opinion
                             6          But even accepting—purely for purposes of this motion—that Simon’s statements can be
                             7   read as blaming all private prisons (including CoreCivic) for events that occurred at a few border
                             8   facilities, a defamation claim would still not lie. This kind of broad criticism would amount to a
                             9   statement of Simon’s opinion, which is not actionable as a matter of law. Gardner v. Martino, 563
                            10   F.3d 981, 987 (9th Cir. 2009). “Whether an allegedly defamatory statement is one of opinion or
                            11   fact is a question of law.” Id. at 986. In examining whether a statement is one of fact or opinion,
                            12   courts ask “whether a reasonable factfinder could conclude that the contested statement implies an
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                            13   assertion of objective fact.” Id. (citation omitted). In making this evaluation, courts consider the
                            14   “‘totality of the circumstances’ in which the statement was made,” including “the general tenor of
                            15   the entire work,” the “the extent of figurative or hyperbolic language used,” and whether the
                            16   statement is “susceptible of being proved true or false.” Herring Networks, Inc. v. Maddow, No.
                            17   19-cv-1713-BAS-AHG, 2020 WL 2614857, at *3 (S.D. Cal. May 22, 2020). See also Milkovich v.
                            18   Lorain Journal Co., 497 U.S. 1, 24 (1990).
                            19          Critically, “[c]ontext can be determinative that a statement is opinion and not fact, for the
                            20   context of a statement may control whether words were understood in a defamatory sense.” Koch
                            21   v. Goldway, 817 F.2d 507, 509 (9th Cir. 1987); Cochran v. NYP Holdings, Inc., 58 F. Supp. 2d
                            22   1113, 1123 (C.D. Cal. 1998), aff’d, 210 F.3d 1036 (9th Cir. 2000) (statements were opinion in
                            23   light of context, where they appeared in a newspaper opinion column that “create[d] a setting
                            24   denoting opinion as opposed to fact”). For instance, in Partington v. Bugliosi, 56 F.3d 1147, 1154
                            25   (9th Cir. 1995)—arising from another book by Vincent Bugliosi about a murder case—the Ninth
                            26   Circuit considered claims that Bugliosi painted his opposing counsel in the trial as incompetent,
                            27   thereby defaming him. The court disagreed, and held the statements, though technically factual,
                            28   were non-actionable opinion. The court noted that “[t]he purpose of the book is to offer the

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                             1   personal viewpoint of the author concerning the trials,” and, “[b]ecause the book outlines
                             2   Bugliosi’s own version of what took place, a reader would expect him to set forth his personal
                             3   theories about the facts of the trials and the conduct of those involved in them.” Partington, 56
                             4   F.3d at 1153. Similarly, in Herring Networks, Inc., 2020 WL 2614857, at *1, the court held it was
                             5   protected opinion for Rachel Maddow, in reference to an article about a One America News
                             6   reporter also working for a Russian state news outlet, to describe OAN as “really literally . . . paid
                             7   Russian propaganda.” Id. The court noted that “Maddow made the allegedly defamatory
                             8   statement on her own talk show news segment where she is invited and encouraged to share her
                             9   opinions with her viewers,” and because viewers know that “Maddow does not keep her political
                            10   views a secret, . . . audiences could expect her to use subjective language that comports with her
                            11   political opinions.” Id. at *4.
                            12          Here, the Forbes Posts are precisely the sort of subjective, partisan publication that readers
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                            13   would understand to convey Simon’s personal views. Simon’s posts promote the Families Belong
                            14   Together coalition’s efforts, and Simon openly discloses her advocacy to dismantle the private
                            15   prison industry. See, e.g., Ex. 2 at 3. As in Partington and Herring, the broad context of the
                            16   Forbes Posts indicates to readers that they should be read as conveying Simon’s opinions on social
                            17   issues, based on the reporting she cites. To the extent the Forbes Posts contain “implications,” any
                            18   reader would understand these to be Simon’s subjective interpretation, not objective facts.
                            19          Indeed, the specific statements CoreCivic focuses upon express figurative concepts, and
                            20   are not easily susceptible to objective verification. In a key challenged statement, Simon writes:
                            21   “Since news of family separation at the southern border began shedding more light on
                            22   the abuses inside such private facilities, activists across the country have been paying careful
                            23   attention to who actually enables private prison companies in their day to day operations.” Ex. 2
                            24   at 2. The only “facts” conveyed in this statement are that families have been separated at the
                            25   southern border, and that there have been reports of abuse in a number of private prisons—facts
                            26   the Complaint does not contest. The remainder of the statement references a general uproar over
                            27   the Trump family separation policy, purports to describe the specific mindset of dozens of activists
                            28   and activist groups, then characterizes major bank lenders as “enable[rs]” of private prisons.

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                             1   These conceptual linkages are not expressed as objective fact; rather they employ the charged
                             2   language of activism. As part of her advocacy, Simon is rhetorically using the uproar over events
                             3   at a few border facilities to spur an examination of the entire private prison industry, not offering a
                             4   statement of objective fact.2
                             5           C.     The Lobbying Statements Are Not Actionable
                             6           Like the Family Separation Statements, the Lobbying Statements are statements of
                             7   Simon’s opinion made in the context of her explicit social advocacy, which disclose (and
                             8   hyperlink to) the specific reporting upon which Simon bases her conclusions. Moreover, Plaintiff
                             9   has not pled special damages, and cannot demonstrate the Lobbying Statements are defamatory on
                            10   their face.
                            11                  1.      The Lobbying Statements Are Opinion
                            12           The Lobbying Statements contain an apparently factual assertion—namely, that CoreCivic
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                            13   and its competitor have together “spent $25M on lobbying over the past three decades to push for
                            14   harsher criminal justice and immigration laws.” Exs. 2, 3; Compl. ¶¶ 71-72. However, this does
                            15   not alone make them actionable. Partington and Herring each involved factual statements, but all
                            16   were held to be non-actionable opinion because of the broader context in which they were made.
                            17   As set out above, the “general tenor” of the Forbes Posts is akin to an opinion column by Simon,
                            18   an activist who is personally involved in a campaign to end private prisons. Herring Networks,
                            19   2020 WL 2614857, at *3. Both the broader rhetoric and specific context of the Lobbying
                            20   Statements signal that Simon is presenting a one-sided interpretation of the facts. In the March 5
                            21   Post, Simon writes that “CoreCivic [has] a long history of profiting from mass incarceration” and
                            22   that it makes money from “unjustly” filled beds. Ex. 2 at 2. And in the September 30 Post, Simon
                            23   indicts CoreCivic for having a “business model” that “depends on keeping a consistent and
                            24   increasing number of people incarcerated,” before citing “speculat[ion] and critique[]” of its
                            25
                                 2
                                   The Complaint points to Simon’s use of the hashtag #FamiliesBelongTogether in a tweet linking
                            26   to the March 5 Post, Compl. ¶ 54, though this tweet is only identified among the allegedly
                                 defamatory statements based on its alleged “republishing” of the March 5 Post. Id. ¶¶ 120, 135.
                            27   Even assuming the content of the tweet was also at issue, it would not be actionable. The use of a
                                 hashtag is not a verifiable assertion of fact, and cannot be read as anything more than a “rhetorical
                            28   statement” that is “normally associated with politics and public discourse in the United States.”
                                 Clifford v. Trump, 339 F. Supp. 3d 915, 925 (C.D. Cal. 2018) (tweet was non-actionable opinion).
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                             1   lobbying practices, with hyperlinked citations to the NPR and Business Insider Articles. Ex. 3
                             2   at 2. This vague and accusatory language is inconsistent with factual statements.
                             3           But most critically, the Lobbying Statements are based on disclosed news sources. Within
                             4   the statements themselves, Simon hyperlinks to the NPR and Business Insider Articles—which
                             5   report the $25 million in total lobbying figure, and on efforts by CoreCivic and other private
                             6   prison companies “in statehouses across the country to lobby for laws that expand demand for
                             7   their own services,” Ex. 7 at 2. See also Ex. 6 at 8-9—underscoring that her statements are
                             8   interpreting these sources. See Cochran v. NYP Holdings, Inc., 58 F. Supp. 2d 1113, 1123 (C.D.
                             9   Cal. 1998), aff’d, 210 F.3d 1036 (9th Cir. 2000) (“Because the factual referent is disclosed,
                            10   ‘readers will understand they are getting the author’s interpretation of the facts presented; they are
                            11   therefore unlikely to construe the statement as insinuating the existence of additional, undisclosed
                            12   facts.’”) (citation omitted).3 To the extent CoreCivic merely takes issue with Simon’s use of the
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                            13   term “lobbying” to encompass the legal influence campaigns, strategic political donations, and
                            14   participation in legislative counsels described in the NPR and Business Insider Articles, that
                            15   cannot save its claims, because Simon’s usage “falls within an acceptable range of literary
                            16   license.” Reader’s Digest Ass’n v. Superior Court, 37 Cal. 3d 244, 263-64 (1984). In sum, the
                            17   Lobbying Statements would not be understood by readers as statements of sober fact, but as
                            18   Simon’s personal interpretation of disclosed reporting in the NPR and Business Insider Articles.
                            19                  2.      The Lobbying Statements Are Not Defamatory
                            20           Falsity alone is not sufficient to state a libel claim. “[M]ore is required” – namely, the
                            21
                                 3
                                   Indeed, in the Updated March 5 and September 30 Posts, Simon noted CoreCivic’s denial that it
                            22   lobbies on “legislation or policies that would affect the basis for or length of incarceration or
                                 detention,” and further clarified that her criticism was based on public “[d]isclosures” showing
                            23   CoreCivic has “lobbied on a number of bills related to funding for ICE enforcement over the
                                 years,” as well as information in the JPI Report (referenced in the Business Insider article) that
                            24   “both companies have served on task forces of the American Legislative Exchange Council
                                 (ALEC), which has written and promoted model legislation focused on mandatory minimum
                            25   sentences, three strikes laws, and ‘truth in sentencing’ legislation.” Ex. 4 at 2. The Complaint
                                 does not deny any of these facts, but claims the revised passage “falsely conveys to readers that
                            26   CoreCivic lobbies for harsher criminal sentences,” and “accus[es] the company of . . . writ[ing]
                                 and promot[ing]” the model legislation Simon described. Compl. ¶¶ 96-97. In other words, the
                            27   Complaint can only find falsity in statements that Simon did not make. But even to the extent the
                                 revised passage indicates that Simon suspects that CoreCivic has sought to influence criminal and
                            28   immigration laws, this would still be an expression of Simon’s opinion, based on facts reported in
                                 the sources she discloses—facts the Complaint does not deny.
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                             1   statement must also be defamatory, and expose the plaintiff to a “reputational injury.” Jackson v.
                             2   Mayweather, 10 Cal. App. 5th 1240, 1262 (2017). Under California law, a statement may be
                             3   found to be defamatory only if it “exposes [plaintiff] to hatred, contempt, ridicule, or obloquy,”
                             4   “causes him to be shunned or avoided,” or “has a tendency to injure him in his occupation.” Cal.
                             5   Civ. Code § 45. The Complaint does not plead special damages,4 thus CoreCivic must
                             6   demonstrate the statements at issue are libelous “on their face,” i.e. “without the necessity of
                             7   explanatory matter, such as an inducement, innuendo or other extrinsic fact.” Cal. Civ. Code
                             8   § 45a; Forsher, 26 Cal. 3d at 806.
                             9           Libel “on its face”—or libel per se—exists only if “a reader would perceive a defamatory
                            10   meaning without extrinsic aid beyond his or her own intelligence and common sense[.]”
                            11   Bartholomew v. YouTube, LLC, 17 Cal. App. 5th 1217, 1226 (2017). “The determination as to
                            12   whether a publication is libelous on its face is one of law, and is to be measured by the effect the
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                            13   publication would have on the mind of the average reader.” Newcombe v. Adolf Coors Co., 157
                            14   F.3d 686, 695 (9th Cir. 1998) (holding it was not defamatory per se “to suggest that [plaintiff] was
                            15   endorsing alcohol,” without being aware that plaintiff was a recovering alcoholic – “a textbook
                            16   example of ‘explanatory matter’”). “Perhaps the clearest example of libel per se is an accusation
                            17   of crime.” Barnes-Hind, Inc. v. Superior Court, 181 Cal. App. 3d 377, 385 (1986).
                            18           The Lobbying Statements fall far short of meeting the standard for defamation per se.
                            19   CoreCivic’s very business model revolves around monetizing carceral punishment and the
                            20   indefinite detention of immigrants. See Compl. ¶ 7; see also Ex. 12 at 39 (disclosing that
                            21   CoreCivic’s “growth” could be “adversely affected by the relaxation of enforcement efforts, the
                            22   expansion of alternatives to incarceration and detention, leniency in conviction or parole standards
                            23   and sentencing practices or through the decriminalization of certain activities that are currently
                            24   proscribed by criminal laws”). Accordingly, CoreCivic has every business incentive to maximize
                            25   the occupancy of its prisons, immigrant detention centers, and other programs, while providing the
                            26
                                 4
                                   Special damages “must be pled and proved precisely.” Gomes v. Fried, 136 Cal. App. 3d 924,
                            27   940 (1982); Fed. R. Civ. P. 9(g) (“[i]f an item of special damage is claimed, it must be specifically
                                 stated.”) The Complaint does not meet this standard, making only the vague allegation that
                            28   “Defendants’ statements were calculated to—and did in fact—provoke outrage and cause the
                                 company reputational and financial damage.” Compl. ¶¶ 124, 139.
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                             1   minimum of comforts and services. These facts alone may, and perhaps should, “expose”
                             2   CoreCivic to “hatred” and cause it to be “shunned or avoided,” Cal. Civ. Code § 45, yet these facts
                             3   are not disputed. Rather, CoreCivic takes issue only with the idea that it would attempt to
                             4   influence the passage of criminal and immigration legislation through entirely legal lobbying
                             5   activities. This simply does not rise to the level of defamation per se. The suggestion that
                             6   CoreCivic legally lobbies in favor of policies that might improve its bottom line is no worse than
                             7   saying tobacco companies have fought health warnings on cigarette packs,5 or that gun companies
                             8   have lobbied in favor of stand-your-ground laws.6 Indeed, a great many in this country support
                             9   tough-on-crime laws and harsh immigration policies—namely, the legislation CoreCivic insists it
                            10   does not lobby for or against. Disagreement on these issues scarcely rises to defamation, rather, it
                            11   is the natural byproduct of political debate. See Corman v. Blanchard, 211 Cal. App. 2d 126, 134
                            12   (1962) (“while the political and economic views attributed to plaintiff may, . . . make him
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                            13   unpopular with certain members of the voting public . . . , they are not of such a character that
                            14   injury must be presumed from the language itself”); Harris v. Curtis Publ’g Co., 49 Cal. App. 2d
                            15   340, 347 (1942) (“We are unable to hold that in commenting upon such a question of public policy
                            16   the inclusion of a statement attributing to a public official economic views of a sort which were
                            17   then held and accepted by a large part of our population is, in itself” libelous per se). In sum,
                            18   because the Lobbying Statements are not defamatory on their face, and CoreCivic has not pled
                            19   special damages, the claims based on these statements must be dismissed as a matter of law.
                            20           D.     CoreCivic Has Not Pled and Cannot Plead Actual Malice
                            21           CoreCivic has not plausibly alleged that Defendants acted with actual malice, an
                            22
                                 5
                                   R.J. Reynolds Tobacco Co. v. Food & Drug Admin., 696 F.3d 1205 (D.C. Cir. 2012), overruled
                            23   by Am. Meat Inst. v. U.S. Dep’t of Agric., 760 F.3d 18 (D.C. Cir. 2014) (lawsuit in which tobacco
                                 companies challenged the FDA’s “rule requiring display of new textual warnings and graphic
                            24   images on cigarette packaging.”)
                                 6
                                   See Adam Weinstein, “How the NRA and Its Allies Helped Spread a Radical Gun Law
                            25   Nationwide,” Mother Jones (Jun. 7, 2012), https://www.motherjones.com/politics/2012/06/nra-
                                 alec-stand-your-ground (reporting how, through ALEC—of which CoreCivic is also a member—
                            26   the NRA has “pushed Stand Your Ground and other gun laws,” funded by tens of millions of
                                 lobbying funds donated by “gun manufacturers like Beretta, Remington, and Glock.”); Ed
                            27   Pilkington, “NRA ends silence and comes out fighting for stand-your-ground laws,” The Guardian
                                 (May 2, 2012), https://www.theguardian.com/world/2012/may/02/nra-stand-your-ground-law
                            28   (reporting on statements by the NRA’s lobbying arm in favor of stand-your-ground laws “that it
                                 helped draft”).
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                             1   independent reason why its claims must be dismissed. A public figure plaintiff may recover on a
                             2   defamation claim “only on clear and convincing proof that the defamatory falsehood was made
                             3   with knowledge of its falsity or with reckless disregard for the truth,” Gertz v. Robert Welch, Inc.,
                             4   418 U.S. 323, 342 (1974)—i.e., that “the defendant in fact entertained serious doubts as to the
                             5   truth of his publication.” St. Amant v. Thompson, 390 U.S. 727, 731 (1968) (emphasis added).
                             6   See also Reader’s Digest, 37 Cal. 3d at 256. And, of course, to have actual malice, there must be
                             7   knowledge or reckless disregard of falsity, which cannot be established where the underlying
                             8   statements are not false.
                             9          For a public figure defamation plaintiff to survive a motion to dismiss, it must set out
                            10   sufficient facts to make a claim of actual malice “plausible on its face,” Twombly, 550 U.S. at 570,
                            11   and “the court must ‘disregard the portions of the complaint where [the Plaintiff] alleges in a
                            12   purely conclusory manner that the defendants had a particular state of mind in publishing the
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                            13   statements.’” Resolute Forest Prods., Inc. v. Greenpeace Int’l, 302 F. Supp. 3d 1005, 1018 (N.D.
                            14   Cal. 2017) (citation omitted). Where a plaintiff does not plead facts sufficient to give rise to a
                            15   plausible claim of actual malice, a defamation claim may be dismissed at the earliest stage. See id.
                            16   at 1018-20. Indeed, such early dismissal of deficient claims serves First Amendment interests.
                            17   “Forcing publishers to defend inappropriate suits through expensive discovery proceedings in all
                            18   cases would constrict … breathing space in exactly the manner the actual malice standard was
                            19   intended to prevent.” Michel v. NYP Holdings, Inc., 816 F.3d 686, 702 (11th Cir. 2016).
                            20          Here, the Complaint admits that Simon relied on reputable publications in making the
                            21   Lobbying Statements—and even alleges she should have relied on these sources—and the other
                            22   allegations relating to actual malice are either conclusory, contradictory, or simply not evidence of
                            23   actual malice as a matter of law. CoreCivic cannot plead or begin to prove this essential element.
                            24                  1.      CoreCivic is a Public Figure
                            25          Preliminarily, CoreCivic cannot contest it is, at minimum, a limited purpose public figure
                            26   for the purposes of the statement challenged in this action. Those who have “voluntarily
                            27   inject[ed]” themselves or have been “drawn into” that controversy may be treated as public
                            28   figures. Reader’s Digest, 37 Cal. 3d at 253-54 (quoting Gertz v. Robert Welch, Inc., 418 U.S. 323,

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                             1   351 (1974)). In analyzing whether an entity is a limited-purpose public figure, courts consider
                             2   whether: (1) there is a public controversy, i.e., where “the issue was being debated publicly and …
                             3   had foreseeable and substantial ramifications for nonparticipants”; (2) plaintiff took “some
                             4   voluntary act through which he seeks to influence the resolution of the public issues involved”;
                             5   and (3) the alleged defamation was “germane to the plaintiff’s participation in the controversy.”
                             6   Copp v. Paxton, 45 Cal. App. 4th 829, 845-46 (1996) (plaintiff was a public figure in his “limited
                             7   local efforts to inject himself into” a public debate surrounding earthquake disaster mitigation in
                             8   public schools) (quoting Reader’s Digest, 37 Cal. 3d at 253). The question of a plaintiff’s public
                             9   figure status can be determined at the pleading stage where the Complaint’s “own allegations”
                            10   demonstrate these factors are satisfied. See Resolute Forest Prods., 302 F. Supp. 3d at 1017.
                            11          First, the role of private corporations in imprisoning convicts and detaining immigrants is
                            12   indisputably a matter of public controversy, not in the least because these functions are entirely
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                            13   taxpayer funded. Taxpayer funded public projects have been held to be matters of public
                            14   controversy. See, e.g., Carr v. Forbes, Inc., 259 F.3d 273, 279 (4th Cir. 2001) (noting that
                            15   “[p]ublic projects, by definition, exist for the public at large,” and holding a developer was a
                            16   public figure for purposes of an article concerning a public works project he developed);
                            17   McDowell v. Paiewonsky, 769 F.2d 942, 950 (3d Cir. 1985) (architect for a large public project
                            18   was a limited purpose public figure because the project “almost inevitably put him into the vortex
                            19   of a public controversy”). The treatment of prisoners has also been held to raise issues of “grave
                            20   public concern.” CACI Premier Tech., Inc. v. Rhodes, 536 F.3d 280, 294 (4th Cir. 2008) (finding
                            21   private provider of interrogation services at Abu Ghraib prison was a public figure).
                            22          CoreCivic is one of the largest operators of prisons and detention in the country, see
                            23   Compl. ¶ 47, and “surely knew” that this business model would “potentially expose it[] to the
                            24   inhospitable climate of media criticism.” CACI, 536 F.3d at 295. Indeed, CoreCivic admits that it
                            25   has levied its position of prominence to lobby on issues of public policy. Compl. ¶ 7. By its own
                            26   conduct and admission, CoreCivic has voluntarily inserted itself into a field of “grave public
                            27   concern,” and has sought to influence policy in that field. Finally, because the Forbes Posts relate
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                             1   directly to CoreCivic’s role as an operator of private prisons and immigrant detention centers, the
                             2   last factor is satisfied. CoreCivic is a public figure for purposes of the Forbes Posts.
                             3                  2.      CoreCivic Does Not Plausibly Allege, and Cannot Show, Actual Malice
                             4          The Complaint attempts to raise an inference of actual malice by alleging the following:
                             5   (1) Defendants had a financial motivation for publishing statements critical of CoreCivic because
                             6   they hoped that after divesting from CoreCivic, investors would “redirect[]” capital to Candide’s
                             7   financial “products” (Compl. ¶¶ 46-48); (2) CoreCivic has a statement on its website denying it
                             8   houses “unaccompanied minors” (id. ¶ 58); (3) Defendants had read CoreCivic’s denials relating
                             9   to the Lobbying Statements in the NPR Article and Business Insider Article, as well as on other
                            10   websites (id. ¶¶ 81-83, 86-90); (4) Defendants did not reach out to CoreCivic for comment (id. ¶¶
                            11   61, 91); and (5) Defendants’ updates to the March 5 Post and September 30 Post did not satisfy
                            12   CoreCivic, including because they did not remove the hyperlink to the Sept. 25, 2018 Post (id. ¶¶
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                            13   62-68; 92-103). None of these allegations are sufficient to plead actual malice.
                            14          First, CoreCivic’s attenuated theory that Defendants hoped to financially benefit from the
                            15   loss to CoreCivic’s business is implausible on its face. It presumes, without justification, that an
                            16   investor who decided to divest itself from CoreCivic because of bad publicity would somehow
                            17   automatically redirect its assets toward Simon. To credit this theory would in effect nullify the
                            18   actual malice pleading requirement, and allow not just CoreCivic, but any business Simon has
                            19   criticized to sue her on the same theory of “redirected capital,” merely because she is a financial
                            20   advisor. See also Reeder v. Carroll, 759 F. Supp. 2d 1064, 1089–90 (N.D. Iowa 2010) (claim by
                            21   plaintiff that a doctor wrote letters critical of his medical work because that doctor had a “financial
                            22   interest” in his own competing hospital’s success, were “insufficient to support a finding” of
                            23   actual malice.) Moreover, the allegations do not explain why a financial interest in criticizing
                            24   CoreCivic would equate to a motivation to lie. See Tavoulareas v. Piro, 817 F.2d 762, 796 (D.C.
                            25   Cir. 1987) (a motivation to publish sensational or negative stories was insufficient to show actual
                            26   malice, where there was no evidence of a specific motivation to lie or disregard the truth).
                            27   CoreCivic’s theory of expected indirect benefit as evidence of actual malice should be rejected.
                            28

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                             1           Second, CoreCivic’s allegations that Simon knew of its denials and that she did not reach
                             2   out for comment do not support actual malice. Denials by the subject of a negative article do not
                             3   raise an inference of actual malice, Worrell-Payne v. Gannett Co., 49 F. App’x 105, 108 (9th Cir.
                             4   2002) (Defendants’ knowledge that plaintiff made “statements [] in her own defense at a press
                             5   conference” and distributed packet of “corrective information” did not support a finding of actual
                             6   malice), nor does Simon’s failure to reach out for comment. DARE America v. Rolling Stone
                             7   Magazine, 101 F. Supp.2d 1270, 1284 n.3 (C.D. Cal. 2000) (“Plaintiff’s suggestion that
                             8   Defendants’ failure to contact [plaintiff] before publishing [the] article evidences actual malice is
                             9   ... legally misguided. Defendants were not required to contact the subjects of the article before
                            10   publication”), aff’d, 270 F.3d 793 (9th Cir. 2001).
                            11           Third, CoreCivic cannot allege actual malice as to the Family Separation statements
                            12   because actual malice requires knowledge of falsity, and the statements are not false. See Section
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                            13   II.B.1, supra. The Complaint nevertheless alleges that Simon knew the statements would be
                            14   understood as false, as demonstrated by Simon’s clarification to the March 5 Post. The Complaint
                            15   glosses over the fact that Simon’s clarification (made eight days after CoreCivic’s correction
                            16   request, see Compl. ¶¶ 62, 65) opens with “This article does not intend to suggest that CoreCivic
                            17   . . . housed children separated from their parents pursuant to the Trump family separation
                            18   policy.” Ex. 4 at 5. This statement goes to the heart of CoreCivic’s concern, and demonstrates
                            19   Simon’s desire that her truthful statements be understood correctly. See Trans World Accounts,
                            20   Inc. v. Associated Press, 425 F. Supp. 814, 823, n.6 (N.D. Cal. 1977) (publication of a corrective
                            21   story “only nine days after publication of the erroneous story” would “create a large obstacle to
                            22   plaintiff’s efforts to prove actual malice.”). That Simon’s clarification apparently did not satisfy
                            23   CoreCivic also does not, as a matter of law, constitute evidence of actual malice. New York Times
                            24   Co. v. Sullivan, 376 U.S. 254, 286 (1964) (failure to retract upon demand is “not adequate
                            25   evidence of malice for constitutional purposes”); D.A.R.E, 101 F. Supp. 2d at 1287 (“If a
                            26   publisher’s wholesale refusal to retract . . . did not constitute actual malice, it follows that a
                            27   publisher’s retraction which does not satisfy the aggrieved party surely is not actionable.”).
                            28

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                             1          Finally, and most critically, CoreCivic’s allegations not only fail to raise an inference of
                             2   actual malice, they in fact preclude any such a determination with regard to the Lobbying
                             3   Statements. This is because the Complaint admits that Simon relied on the NPR Article and
                             4   Business Insider Article in making the statements—and even faults her for not crediting
                             5   statements in these articles (namely, CoreCivic’s own denials). See Compl. ¶¶ 80-82. Under
                             6   settled law, “[g]ood faith reliance on previously published reports in reputable sources . . .
                             7   precludes a finding of actual malice.” Liberty Lobby, Inc. v. Dow Jones & Co., 838 F.2d 1287,
                             8   1297 (D.C. Cir. 1988); Flowers v. Carville, 310 F.3d 1118, 1130 (9th Cir. 2002) (“One who
                             9   repeats what he hears from a reputable news source, with no individualized reason external to the
                            10   news report to doubt its accuracy, has not acted recklessly.”); Reader’s Digest, 37 Cal. 3d at 259
                            11   (“Where the publication comes from a known reliable source and there is nothing in the
                            12   circumstances to suggest inaccuracy, there is no duty to investigate”) (citations omitted).
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                            13          CoreCivic relies on the NPR and Business Insider Articles as proof that it never lobbied in
                            14   favor of criminal or immigration law, see Compl. ¶¶ 80-82, but again, it quotes only its very own
                            15   denials within the articles, and suggests misleadingly that the articles reported these denials as
                            16   fact. To the contrary, the two articles paint a damning picture of efforts by CoreCivic to influence
                            17   criminal and immigration legislation through participation in the legislative counsel ALEC,
                            18   strategic donations to politicians, and state-level lobbying. See Exs. 6-7; Burke Decl. ¶¶ 7-8. The
                            19   Business Insider Article reports that, notwithstanding CoreCivic’s denials, the JPI Report
                            20   documented “several pieces of federal legislation the [CoreCivic] lobbied on in recent years,
                            21   including funding related to private prisons and Immigrations and Customs Enforcement (ICE)
                            22   detention.” Ex. 7 at 2. The NPR Article also notes how CoreCivic “hired a powerful new lobbyist
                            23   to work the [Arizona] capitol” the “same week” a controversial law criminalizing illegal
                            24   immigrants “hit the Arizona statehouse floor.” Ex. 6 at 8. Finally, even assuming Simon’s
                            25   statements were not perfectly accurate in summarizing the thrust of these articles, this also cannot
                            26   be evidence of actual malice. See Bose Corp. v. Consumers Union of U.S., Inc., 466 U.S. 485,
                            27   512–13 (1984) (where “adoption of the language chosen was ‘one of a number of possible rational
                            28   interpretations’ of an event ‘that bristled with ambiguities’” . . . “[t]he choice of such language,

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                             1   though reflecting a misconception, does not place the speech beyond the outer limits of the First
                             2   Amendment’s broad protective umbrella”). As a matter of law, it was entirely reasonable, and
                             3   indeed inconsistent with any inference of actual malice, for Simon to rely on the NPR and
                             4   Business Insider Articles to come to the conclusion that CoreCivic “lobb[ies] . . . to push for
                             5   harsher criminal justice and immigration laws.” Ex. 2 at 2; Ex. 3 at 2.
                             6          In fact, after receiving CoreCivic’s letter demanding a retraction, Simon updated both posts
                             7   to clarify that CoreCivic “say[s] that [it doesn’t] lobby on legislation or policies that would affect
                             8   the basis for or length of incarceration or detention,” and cited specific additional sources. See Ex.
                             9   4 at 2, Ex. 5 at 3 (each noting that, “according to the Justice Policy Institute,” CoreCivic has
                            10   “served on task forces of the American Legislative Exchange Council (ALEC), which has written
                            11   and promoted model legislation focused on mandatory minimum sentences, three strikes laws, and
                            12   ‘truth in sentencing’ legislation” and has “lobbied on a number of bills related to funding for ICE
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                            13   enforcement over the years.”). See also Compl. ¶ 95. Simon also linked to an OpenSecrets.org
                            14   lobbying database and the JPI Report, which shows that in 2019 CoreCivic lobbied on several bills
                            15   relating to the Department of Homeland Security. Ex. 8 at 23; Burke Decl. ¶ 9. See also Compl. ¶
                            16   89 n. 31 (citing the OpenSecrets.org report). In short, the Complaint demonstrates Simon’s
                            17   reliance on, and citation to, reliable sources, as well as her willingness to promptly update her
                            18   statements to be more precise. These acts are utterly inconsistent with any claim of actual malice.
                            19   See Resolute Forest Prods., 302 F. Supp. 3d at 1019 (holding that where the defendant retracted
                            20   allegedly inaccurate statement based upon “faked” source material, “[t]he plausible inference from
                            21   this allegation is that Greenpeace made a mistake, not that it acted with malice,” and dismissing
                            22   claims for failure to plead actual malice); Trans World Accounts, 425 F. Supp. at 823, n.6.
                            23          Because CoreCivic has not plausibly alleged any facts that support its claim of actual
                            24   malice as to the Lobbying Statements—or indeed as to any of the statements at issue—the
                            25   Complaint may be dismissed on this basis alone.
                            26                                              CONCLUSION
                            27          For all the reasons set forth above, the Court should strike the Complaint in full, and award
                            28   Simon her attorney’s fees and costs, in motion that will be filed later.

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                             1   Dated: August 6, 2020                  Respectfully submitted,
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                                                                        Morgan Simon
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